              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:21-cv-00228-MR


THE VILLAGE TAVERN, INC.,        )
                                 )
                   Plaintiff,    )
                                 )
              vs.                )                ORDER
                                 )
CATBIRD HOSPITALITY, LLC and     )
JASON SAMUEL CANCILLA,           )
                                 )
                   Defendants.   )
________________________________ )

      THIS MATTER is before the Court sua sponte.

      The Plaintiff initiated this action on August 19, 2021. [Doc. 1]. On

October 15, 2021, the Clerk made an entry of default against the Defendants.

Since that date, however, the Plaintiff appears to have made no effort to

prosecute the action further.

      Accordingly, IT IS, THEREFORE, ORDERED that within fourteen (14)

days of the entry of this Order, the Plaintiff shall file an appropriate motion or

otherwise take further action with respect to the Defendants. The Plaintiff is

advised that failure to take further action against the Defendants will result in

the dismissal of this action without prejudice.




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IT IS SO ORDERED.
                   Signed: December 2, 2021




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